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           14
                               UNITED STATES DISTRICT COURT
           15
                     CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           16

           17    MASIMO CORPORATION,                       CASE NO. 8:20-cv-00048-JVS (JDEx)
                 a Delaware corporation; and               DECLARATION OF NORA
           18
                 CERCACOR LABORATORIES,                    PASSAMANECK IN SUPPORT OF
           19    INC.,                                     APPLE’S MOTION TO BAR
                 a Delaware corporation,                   PLAINTIFFS FROM RAISING
           20                                              OFFENSIVE COLLATERAL
                                                           ESTOPPEL
           21                       Plaintiffs,
                                                           Date: August 22, 2022
           22          v.
                                                          Time: 1:30 p.m.
           23    APPLE INC.,
           24    a California corporation,
                                                          Discovery Cut-Off: 8/12/22
           25                       Defendant.            Pre-Trial Conference: 3/13/23
                                                          Trial: 3/28/23
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                 PASSAMANECK DECLARATION ISO MOT. TO BAR PLAINTIFFS FROM RAISING COLLATERAL
Wilmer Cutler
Pickering Hale   ESTOPPEL                                         Case No. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
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             1         I, Nora Passamaneck, declare and state as follows:
             2         1.    I am a partner with the law firm of Wilmer Cutler Pickering Hale and
             3   Dorr LLP and counsel of record for Defendant Apple Inc. (“Apple”) in the above-
             4   captioned action.
             5         2.    I have personal knowledge of the facts stated herein and, if called
             6   upon to do so, could and would competently testify thereto.
             7         3.    I make this Declaration in support of Apple’s Motion To Bar
             8   Plaintiffs From Raising Offensive Collateral Estoppel (“Motion”).
             9         4.    Attached hereto as Exhibit 1 is a true and correct copy the Complaint
           10    filed in Masimo Corp. et al. v. True Wearables Inc., Case No. 8:18-CV-02001,
           11    dated November 8, 2018.
           12          5.    Attached hereto as Exhibit 2 (filed under seal) is a true and correct
           13    copy of an agreement between Apple and a nonparty, dated March 3, 2021.
           14          6.    Attached hereto as Exhibit 3 (filed under seal) is a true and correct
           15    copy of an email exchange between Plaintiffs’ counsel and Apple’s counsel,
           16    regarding the term and scope of the agreement between Apple and a nonparty, the
           17    last email dated May 25, 2022.
           18          7.    Attached hereto as Exhibit 4 (filed under seal) is a true and correct
           19    copy of Apple’s Opposition to Plaintiffs’ July 1, 2022 Motion to Compel
           20    production of privileged documents and communication exchanged between Apple
           21    and a nonparty, submitted July 15, 2022.
           22          8.    Attached hereto as Exhibit 5 (filed under seal) is a true and correct
           23    copy of Plaintiffs’ Interrogatory No. 25, served on February 15, 2022.
           24          9.    Attached hereto as Exhibit 6 (filed under seal) is a true and correct
           25    copy of Apple Inc.’s Objections and Responses to Plaintiffs’ Interrogatory No. 25,
           26    served on April 29, 2022.
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                 PASSAMANECK DECLARATION ISO MOT. TO BAR PLAINTIFFS FROM RAISING COLLATERAL
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             1         10.    Attached hereto as Exhibit 7 (filed under seal) is a true and correct
             2   copy of Apple’s Opposition to Plaintiffs’ June 1, 2022 Motion to Compel a
             3   supplemental response to Interrogatory No. 25, submitted on June 8, 2022.
             4         11.    Attached hereto as Exhibit 8 (filed under seal) is a true and correct
             5   copy of Plaintiffs’ Motion to Compel nonparty’s compliance with subpoena, filed
             6   May 24, 2022.
             7         12.    Attached hereto as Exhibit 9 (filed under seal) is a true and correct
             8   copy of Plaintiffs’ Motion to Compel supplemental response to Interrogatory No.
             9   25, filed June 1, 2022.
           10          13.    Attached hereto as Exhibit 10 (filed under seal) is a true and correct
           11    copy of Apple’s letter submitted to the Special Master related to Plaintiffs’ Motion
           12    to Compel nonparty’s compliance with subpoena, submitted on June 6, 2022.
           13          14.    Attached hereto as Exhibit 11 (filed under seal) is a true and correct
           14    copy of Plaintiffs’ letter to the Special Master responding to Apple’s June 6, 2022
           15    letter, submitted on June 13, 2022.
           16          15.    Attached hereto as Exhibit 12 (filed under seal) is a true and correct
           17    copy of Plaintiffs’ supplemental letter brief on offensive collateral estoppel,
           18    submitted to the Special Master on June 30, 2022.
           19          16.    Attached hereto as Exhibit 13 (filed under seal) is a true and correct
           20    copy of Apple’s supplemental letter brief on offensive collateral estoppel,
           21    submitted to the Special Master on June 30, 2022.
           22          17.    Attached hereto as Exhibit 14 (filed under seal) is a true and correct
           23    copy of Plaintiffs’ response to Apple’s supplemental letter brief on offensive
           24    collateral estoppel, submitted to the Special Master on July 7, 2022.
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             1         18.    Attached hereto as Exhibit 15 (filed under seal) is a true and correct
             2   copy of Apple’s response to Plaintiffs’ supplemental letter brief on offensive
             3   collateral estoppel, submitted to the Special Master on July 7, 2022.
             4         19.    Attached hereto as Exhibit 16 (filed under seal) is a true and correct
             5   copy of the Special Master’s Order No. 11, dated July 15, 2022.
             6         20.    Attached hereto as Exhibit 17 (filed under seal) is a true and correct
             7   copy of the Special Master’s Order No. 13, dated July 20, 2022.
             8         21.    Attached hereto as Exhibit 18 (filed under seal) is a true and correct
             9   copy of a letter dated June 28, 2022, from Nora Passamaneck, counsel for Apple,
           10    to Adam Powell, counsel for Plaintiffs.
           11          22.    Attached hereto as Exhibit 19 (filed under seal) is a true and correct
           12    copy of Defendant Apple Inc.’s Objections And Responses To Plaintiffs Masimo
           13    Corporation And Cercacor Laboratories, Inc.’s Eighth Set Of Interrogatories To
           14    Defendant Apple Inc. (Nos. 26-35), dated June 15, 2022.
           15          23.    Attached hereto as Exhibit 20 (filed under seal) is a true and correct
           16    copy of Plaintiffs’ reply in support of their June 1, 2022 Motion to Compel
           17    supplemental response to Interrogatory No. 25, submitted to the Special Master on
           18    June 15, 2022.
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             1         I declare under penalty of perjury under the laws of the United States of
             2   America that the foregoing is true and correct.
             3         Executed this 22nd day of July 2022 in Nederland, Colorado.
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             5                                          By:
                                                              Nora Q.E. Passamaneck
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                 PASSAMANECK DECLARATION ISO MOT. TO BAR PLAINTIFFS FROM RAISING COLLATERAL
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